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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :                  05/04/2018
STATE OF NEW YORK ET AL.,                                              :
                                                                       :
                                    Plaintiffs,                        :   18-CV-2921 (JMF)
                                                                       :
                  -v-                                                  :       ORDER
                                                                       :
UNITED STATES DEPARTMENT OF COMMERCE                                   :
ET AL.,                                                                :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

                        [Regarding Telephonic Access to Court Conferences]

       By letter dated May 3, 2018 (Docket No. 106), the parties in this case requested
permission for certain counsel to appear telephonically at the initial pretrial conference on May
9, 2018. The request is hereby granted. To that end, the Court has arranged for the use of
CourtCall, an independent conference call company, to enable counsel who have noticed an
appearance on ECF to listen to conferences in this litigation, including but not limited to the
conference scheduled for 3:00 p.m. on May 9, 2018.

        In order to use CourtCall to participate in a conference, a party must call CourtCall’s
reservation desk at (888) 882-6878 prior to the conference to schedule an appearance. CourtCall
will provide each participant with written confirmation of his or her registration and a number
for the participant to call at the appointed time. Parties are advised that there is a fee to use
CourtCall. All CourtCall participants will be in “listen-only” mode. That is, unless the
Court grants leave to counsel in advance of a conference, any counsel who wishes to speak
at a conference must be physically present in the courtroom.

        SO ORDERED.

Dated: May 4, 2018
       New York, New York
